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GAS 245B          (Rev. 11/22)Judgment in a Criminal Case
DC Custody TSR




                                           United States District Court                                                   sl: -b p u: lo
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                            DUBLIN DIVISION

              UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                  V.

                          Crystal Miller
                                                                                Case Number:                  3:22CR0001I-8

                                                                                USM Number;                   27401-510




                                                                                I. Cain Smith
                                                                                Defendant's Attomey
THE DEFENDANT:

Kl pleaded guilty to Count          18ss

□ pleaded nolo contendere to Count(s)                         which was accepted by the court.

□ was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                 Offense Ended         Count


21 U.S.C. § 843(b)                Use of a communication facility                                                 November 23, 2021         18ss
21 U.S.C.§ 843(d)(1)

      The defendant is sentenced as provided in pages 2 through                      of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

 3 Counts 1. 19. and 20 of the Second Superseding Indictment shall be dismissed as to this defendant on the motion of the United States.

           It is ordered that the defendant must notify the United States Attomey for this district within 30 days of any change of name,
 residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
 ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
 circumstances.


                                                                             August 29. 2023
                                                                             Date of Impositioivof Judgment




                                                                             Signature ofJudge



                                                                             Dudley H. Bowen, Jr.
                                                                             United States District Judge
                                                                             Name and Title of Judge



                                                                             Date
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                                                                IMPRISONMENT


           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
           term of: 24 months.


     1^    The Court makes the following recommendations to the Bureau ofPrisons: It is recommended that the defendant
           be evaluated by Bureau of Prisons officials to establish her participation in an appropriate program ofsubstance
           abuse treatment and counseling during her term of incarceration.

           The defendant is remanded to the custody ofthe United States Marshal.

     □     The defendant shall surrender to the United States Marshal for this district:

          □      at                                 □     a.m.      □ p.m.          on                                         .
          □      as notified by the United States Marshal.

     □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □      before 2 p.m. on                                                          .
          □      as notified by the United States Marshal.
          □      as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

1 have executed this judgment as follows:




          Defendant delivered on                                                               to

at                                                       , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL




                                                                               By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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                                                             SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 1 year.

                                                         MANDATORY CONDITIONS

1.       You must not commit another federal, state, or local crime.
2.       You must not unlawfully possess a controlled substance,
3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
         from imprisonment and at least two periodic drug tests, thereafter, as determined by the court.
         □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
         abuse. (Check, ifapplicable.)
4.           □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (Check, ifapplicable.)
5.           lEI You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
6.       □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (Check, ifapplicable.)
7.           □ You must participate in an approved program for domestic violence. (Check, ifapplicable.)

     You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
     page.
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                                         STANDARD CONDITIONS OF SUPERVISION

As part ofyour supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1. You must report to the probation office in the federaljudicial district where you are authorized to reside within 72 hours of your
     release fi-om imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
  2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
     and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
  4.   You must answer truthfully the questions asked by your probation officer.
  5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
  6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7. You must work full time (at least 30 hours per week)at a lawfiil type of employment, unless the probation officer excuses you
       from doing so. If you do not have fiill-time employment you must try to find fiill-time employment, unless the probation officer
       excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
       job responsibilities), you must notify the probation officer at least 10 days before the change. Ifnotifying the probation officer at
       least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
       of becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
       the probation officer.
  9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own,possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
     was designed, or was modified for, the specific purpose of causing bodily injuiy or death to another person such as a nunchakus
       or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting permission fi-om the court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                Date
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                                      SPECIAL CONDITIONS OF SUPERVISION


1. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct
   or tamper with the testing methods.

2. You must provide the probation officer with access to any requested financial information and authorize the release ofany financial
   information. The probation office may share financial information with the U.S. Attorney's Office.

3. You must pay the fmancial penalty in accordance with the Schedule of Payments sheet ofthis judgment. You must also notify the
   court of any changes in economic circumstances that might affect the ability to pay this fmancial penalty.

4. You must participate in an educational services program and follow the rules and regulations ofthat program. Such programs may
     include hi^ school equivalency preparation.
5. You must submit your person, property, house,residence, office, vehicle, papers, computers(as defined in 18 U.S.C. § 1030(e)(1)),
   other electronic communications or data storage devices or media, to a search conducted by a United States probation officer.
   Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants that the premises may
     be subject to searches pursuant to this condition.

6. A curfew is imposed as a special condition of supervised release. You must comply with the conditions of a curfew fi-om 10:00
   p.m. until 6:00 a.m. for the period ofsupervision. During this time, you will remain at your place ofresidence at all times and shall
   not leave except when such leave is approved in advance by the probation officer.
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                                           CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments.

           Assessment               Restitution            Fine                   AVAA Assessment*          JVTA Assessment **
TOTALS $100                         N/A                    None                   N/A                       N/A

□     The determination of restitution is deferred until                          .     Amended Jud^ent in a Criminal Case (AO 245C)
      will be entered after such determination.


□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                             Total Loss***                      Restitution Ordered                  Priority or Percentage




TOTALS                             $

□     Restitution amount ordered pursuant to plea agreement $

□     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      □    the interest requirement is waived for the       □     fine     □ restitution.
      □    the interest requirement for the        □ fme          □ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
A    1^ Lump sum payment of$                   100    due immediately.

              □    not later than                                        , or
              □    in accordance        DC,          □ D,      C E, or          □ F below; or

B        □ Payment to begin immediately (may be combined with                      DC,          □ D, or        □ F below); or
C        O Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                              (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or
D        □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E        □ Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F        □ Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

□         Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate.

□         The defendant shall pay the cost of prosecution.
□         The defendant shall pay the following court cost(s):

^         The defendant shall forfeit the defendant's interest in the following property to the United States: Anv property that may
          have been seized in connection with this offense.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
